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PROB 12A
(7/93)

                                 United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
his
Name of Offender: Jason Crespo                                                          Cr.: 18-00373-001
                                                                                       PACTS #: 5056063

Name of Sentencing Judicial Officer:    THE HONORABLE KEVIN MCNULTY
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 11/29/2018

Original Offense:   Count One: Conspiracy to Defraud the United States, 18 U.S.C. § 371, a Class D
                    Felony

Original Sentence: 5 months imprisonment, 36 months supervised release

Special Conditions: Special Assessment, Restitution - Money, Substance Abuse Testing, Alcohol
Treatment, Drug Treatment, Financial Disclosure, Cooperate with IRS, Life Skills Counseling,
Educational Services, Location Monitoring Program, Mental Health Treatment, No New Debt/Credit,
Other Condition, Support Dependents, Alcohol Restrictions

Type of Supervision: Supervised Release                        Date Supervision Commenced: 06/07/2019

                                  NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

  1.                   Mr. Crespo violated the following special condition of supervised release:
                       “You must refrain from the illegal possession and use of drugs, including
                       prescription medication not prescribed in your name, and the use of
                       alcohol, and must submit to urinalysis or other forms of testing to ensure
                       compliance. It is further ordered that you must abide by the rules of any
                       program and must remain in treatment until satisfactorily discharged by
                       the Court. You must alert all medical professionals of any prior substance
                       abuse history, including any prior history of prescription drug abuse. The
                       U.S. Probation Office will supervise your compliance with this condition.”
                       On October 7th, 2021, Jason Crespo tested positive for phencyclidine and signed
                       an admission of drug use form.




U.S. Probation Officer Action:

On October 7th, 2021 during an office visit to the probation office, Mr. Crespo submitted to urinalysis and
tested positive for phencyclidine. After instant test results were positive, Mr. Crespo admitted to using
phencyclidine and signed an admission of drug use form. Mr. Crespo was verbally reprimanded and
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                                                                                                  Jason Crespo

informed if he continues to use illicit substances, he will be referred for higher level of care to address his
substance use treatment needs. The U.S. Probation Office will increase drug testing and notify the Court of
any additional non-compliance. Subsequently, on October 29th, 2021 Mr. Crespo was tested again, and his
urinalysis yielded negative results for all drugs. We are respectfully requesting no court action be taken and
this notice serve as a written reprimand from the court.




                                                           Respectfully submitted,

                                                           SUSAN M. SMALLEY, Chief
                                                           U.S. Probation Officer



                                                                   Donovan K. Hammond
                                                             By:    DONOVAN K. HAMMOND
                                                                    U.S. Probation Officer

/ dkh

APPROVED:
Elisa Martinez                      12/2/21
ELISA MARTINEZ                     Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)
   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other

                                                                      /s/ Kevin McNulty
                                                                    Signature of Judicial Officer


                                                                           12/3/2021
                                                                                Date
